Case 9:22-mj-08332-BER Document 143 Entered on FLSD Docket 12/01/2022 Page 1 of 2
             USCA11 Case: 22-12791 Date Filed: 11/29/2022 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                  ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                56 Forsyth Street, N.W.
                                                Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                            November 29, 2022
                                                                                               AP
   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE                                                               Nov 29, 2022
   MIAMI, FL 33128-1810

   Appeal Number: 22-12791-JJ                                                                      MIAMI
   Case Style: USA v. Michael Barth
   District Court Docket No: 9:22-mj-08332-BER-1

   The referenced appeal was dismissed.

   Appellee's brief is due 30 days from the date of this letter, with the supplemental
   appendix, if any, due within 7 days from the filing of the brief.

   The parties have 14 days from the date of this order to file a notice with the Clerk specifying
   which motions mooted by the dismissal of this appeal, if any, are to be renewed. The time for
   filing a response to any renewed motion runs from the date the opposing party's notice is
   docketed. Parties seeking to renew a motion after the 14-day renewal period expires will be
   required to refile the motion.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Tiffany Tucker, JJ
   Phone #: (404)335-6193

                                                                  REINST-1 Court Order Reinstatement
Case 9:22-mj-08332-BER Document 143 Entered on FLSD Docket 12/01/2022 Page 2 of 2
             USCA11 Case: 22-12791 Date Filed: 11/29/2022 Page: 1 of 1


                         IN THE UNITED STATES COURT OF APPEALS

                                  FOR THE ELEVENTH CIRCUIT
                                    ________________________

                                         No. 22-12791-JJ
                                    ________________________

  UNITED STATES OF AMERICA,

                                                     Plaintiff - Appellee,

  versus

  MICHAEL S. BARTH,

                                                     Interested Party - Appellant,

  SEALED SEARCH WARRANT,

                                                 Defendant.
                                    ________________________

                             Appeal from the United States District Court
                                 for the Southern District of Florida
                                   ________________________

  Before: ROSENBAUM and BRASHER, Circuit Judges.

  BY THE COURT:

           The motion to reinstate filed by the Appellant is hereby GRANTED. The parties have 14

  days from the date of this order to file a notice with the Clerk specifying which motions mooted

  by the dismissal of this appeal, if any, are to be renewed. The time for filing a response to any

  renewed motion runs from the date the opposing party's notice is docketed. Parties seeking to

  renew a motion after the 14-day renewal period expires will be required to refile the motion.
